Case 3:16-cv-00885-AVC Document 69-3 Filed 01/25/17 Page 1 of 20
Posters on Yale campus urge men's hoops team to 'stop supporting a rapist'                                                                        Page 1 of 1
                  Case 3:16-cv-00885-AVC Document 69-3 Filed 01/25/17 Page 2 of 20
          Posters on Yale campus urge men's hoops team to 'stop
          supporting a rapist'
            Erik Brady , USA TODAY Sports    Published 6:25 p.m. ET March 3, 2016 | Updated 11:05 a.m. ET March 4, 2016



                                             Yale is in the hunt for its first men’s NCAA basketball tournament since 1962, potentially making the Bulldogs
                                             one of the feel-good stories of the season. But all of that is buckling under the weight of damaging posters that
                                             appeared on campus this week that call on the Yale team to “stop supporting a rapist.”


                                             All this comes after senior captain Jack Montague withdrew from the university for undisclosed reasons on Feb.
                                             10 and after his teammates wore his No. 4 and his nickname — "Gucci" — on their warmups before Friday’s
                                             game against Harvard. Protest signs against this show of support began appearing on campus Monday and
           (Photo: Craig Warga, Bloomberg)   more went up Wednesday, according to a report in the Yale Daily News that included a photo of a blackboard
                                             with the words: “Rape culture is standing by your teammate and silencing Yale's victims of sexual assault.”


  Officer David Hartman, media liaison for the New Haven (Conn.) Police Department, told USA TODAY Sports “there is no case, no investigation and no
  charges” involving Montague. “Not with our department.”


  Neither the university nor the team has said why Montague left abruptly in the midst of a successful season. Tom Conroy, university press secretary, said
  by email that Yale has no comment on the posters or on why any student leaves school.


  The Yale Women’s Center posted a statement on its Facebook page that apparently refers to Montague: “We recognize that FERPA and Yale policy
  prohibit Yale from commenting on the exact nature of the incident. Though the silence is deeply frustrating to us and surely to many of you, Yale's actions
  speak much louder than its words. It appears that Yale has expelled a high-profile member of a sports team in the midst of a pivotal moment in the
  season on the basis of sexual violence.”


  The post offers no substantiating evidence of violence. Vicki Beizer, public relations coordinator for the Women’s Center, said by email: "We have no
  direct knowledge about the accuracy or inaccuracy of campus speculation. We seek only to move conversations that are already happening on campus
  in a more productive direction."


  Montague was averaging 9.7 points per game. The Bulldogs are 20-6 and 11-1 in the Ivy League, a half-game ahead of Princeton. The Ivy League has
  no conference tournament and the NCAA bid goes to the regular season champ, though Yale and Princeton could meet in a one-game playoff should
  they end the season tied.


  Talk of titles seems woefully small weighed against the serious nature of the protest posters. Some of the signs that appeared Monday included photos of
  the team wearing its tribute to Montague, according to the Yale Daily News report that quoted senior forward Justin Sears saying team members tore
  down some of those signs.


  Sears told the paper after Friday’s game that the warmups with Montague’s nickname were a show of support for Montague as “one of our brothers” and
  as “family.” One protest poster apparently made reference to that quote: “ ‘Teammate’ ‘Family’ ‘Brother’ Rapist.”


  New posters went up outside a lecture hall Wednesday morning and fliers were placed on chairs inside the hall, the Yale Daily News report said, adding
  the posters were gone within an hour.


  A Yale frat made news in 2010 when it chanted “No means yes.” A Title IX complaint of a hostile environment was filed in 2011 by 16 Yale students and
  recent graduates. The U.S. Education Department’s Office for Civil Rights said in 2012 that it had found Yale had fallen short in preventing sexual
  harassment and that the school had signed a resolution agreement promising corrective measures.




http://www.usatoday.com/story/sports/ncaab/ivy/2016/03/03/yale-poster-sexual-assault-jack-montague/8... 1/25/2017
Yale hoops inscandal as sexual assault posters flood campus |New YorkPost  Page 1of2
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Yale hoops inscandal as sexual assault posters flood campus |New YorkPost  Page 2of2
          Case 3:16-cv-00885-AVC Document 69-3 Filed 01/25/17 Page 4 of 20


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Basketball Team Is 'Supporting a
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      Ellie Shechet
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Early Monday morning, posters were seen at the entrance of Payne Whitney
Gymnasium and on bulletin boards around Yale University’s campus that
read “Yale Men’s Basketball: Stop Supporting a Rapist.”


The posters—most of which were quickly torn down by members of the
men’s basketball team—included a Yale Daily News photo of players at last
Friday’s high-profile game against Harvard; in the photo, they were wearing
     Case 3:16-cv-00885-AVC Document 69-3 Filed 01/25/17 Page 6 of 20
shirts with “GUCCI” and the number 4 written on the back, and “Yale”
spelled backwards written on the front.


“Gucci” is the nickname of Yale men’s basketball team captain Jack
Montague, and 4 was his jersey number; last week, it was announced that
Montague had withdrawn from Yale under circumstances that were not
disclosed by the administration, the team or the Yale Daily News. Montague,
an American Studies and Political Science major, was set to graduate in May.
      Case 3:16-cv-00885-AVC Document 69-3 Filed 01/25/17 Page 7 of 20




“‘Yale’ spelled backwards wasn’t to make a statement. It’s just because Yale
is a brand and there was a copyright,” forward Justin Sears ‘16 told the YDN
of the shirt.“It was just convenient, at the last minute. Everyone on the team
supported it and wanted to show our support for Jack.”




Image via screenshot, originally via @mattkgreene.


In a subsequent YDN article published on Tuesday that addressed the
posters, Sears again addressed the shirts’ backwards spelling of “Yale”:



  The shirts have been a “very controversial thing,” Sears said, because
  some people continue to view the backwards spelling of Yale
  “symbolically.” Some questioned whether the inversion of the letters
  was a critique of the University’s role in Montague’s withdrawal, Sears
  said, but he reiterated comments he made during a Friday night press
  conference that the shirts were solely a show of support for Montague.


  “We just wanted to make it as clear as possible that Jack is one of our
  brothers,” Sears said. “He’s family to us and we miss him.”
     Case 3:16-cv-00885-AVC Document 69-3 Filed 01/25/17 Page 8 of 20
Sears told the YDN: “We knew, when we wore those shirts, that there was
going to be a reaction, and this is the reaction.”


According to a source on campus who sent us images, new posters appeared
early Wednesday morning. An article published in the YDN Thursday
morning reports that the posters were found on chairs inside the Sheffield-
Sterling-Strathcona lecture hall, Yale’s largest lecture hall; our source
claimed that they were also found on bulletin boards around Old Campus
and in stairwells in Welch Hall, a freshman dorm:




Image courtesy of source.
       Case 3:16-cv-00885-AVC Document 69-3 Filed 01/25/17 Page 9 of 20




Image courtesy of source.


The YDN reports that another poster read, “YDN, why so silent? Stop
protecting a rapist.” According to the YDN, a note scrawled on the lecture
hall’s chalkboard read “Rape culture is standing by your teammate and
silencing Yale’s victims of sexual assault.” By 8:30 a.m., according to the
YDN, the chalkboard message and the posters around the lecture hall were
gone; Special Assistant to the Dean of Yale College David Caruso told the YDN
that the custodial staff does not clean inside the hall.


The YDN article also points to a statement published by the Yale Women’s
Center on their Facebook page last night. The statement reads, in part:
     Case 3:16-cv-00885-AVC Document 69-3 Filed 01/25/17 Page 10 of 20
  We recognize that FERPA and Yale policy prohibit Yale from
  commenting on the exact nature of the incident. Though the silence is
  deeply frustrating to us and surely to many of you, Yale’s actions speak
  much louder than its words. It appears that Yale has expelled a high-
  profile member of a sports team in the midst of a pivotal moment in the
  season on the basis of sexual violence. While we can only speculate
  about these occurrences, we can comfortably say that, should all of this
  be true, this is progress.


  [...]


  However, though we can only speculate the intent behind the basketball
  team’s shirt protest, student’s words and behaviors establish campus
  norms. The team’s actions seem to us a dismissal of the very real threat
  of sexual violence.



According to Sears, Yale Director of Athletics Tom Beckett and head
basketball coach James Jones did not have “any say” in the team’s decision
to wear the shirts at Friday’s game, which Beckett confirmed in a statement
to the YDN. Sears would not say, however, whether staff knew about the
shirts ahead of time.



  “No one in the team is aware of what happened [to Montague], and the
  shirts are not a comment on what the administration has done or
  anything happening with Jack’s situation,” Sears said Sunday night. “It
  was just to say he is part of the team and we miss him, and because he’s
  been deleted off the roster and is not mentioned anymore.”



On February 18, the YDN reported that Montague was taking a leave from the
team. “I’m taking a personal leave and I’m trying to get back as soon as
possible,” he told the paper at the time, declining to comment further. The
head coach, five teammates, multiple Yale athletic administrators and the
     Case 3:16-cv-00885-AVC Document 69-3 Filed 01/25/17 Page 11 of 20
Yale Office of Public Affairs and Communication also declined to comment to
the YDN. Yale Director of Sports Publicity Steve Conn said that Montague was
taking care of “personal issues,” and refused to comment further. After
several weeks of mournful speculation from local sports bloggers,
Montague’s permanent withdrawal was announced on February 25. Again,
the University declined to provide comment or clarification.


Montague wasn’t necessarily Yale’s star player, but he was a senior captain
leading the team during a potentially historic season. The Bulldogs are
currently a half-game ahead of Princeton in the Ivy League race and eyeing
a spot in the N.C.A.A. tournament for the first time since 1962. “The
President (Peter Salovey) is sitting at center court, and it’s a great thing for
the school to support your program,” Yale coach James Jones told the New
Haven Register following their game against Harvard, which Yale won.
According to the Register, the Yale student section chanted “Guc-ci” as the
Bulldogs lined up for the National Anthem on Friday.


Multiple students, speaking anonymously, told Jezebel that the men’s
basketball team is rumored to be planning a walkout at their March 5 game
against Columbia. Several members of the Yale men’s basketball team did
not respond to requests for comment, or to interview requests; Justin Sears
referred me to his comments in the YDN, adding, “Sorry for being brief but
just want the team to stay focused on the games for this weekend.”


We spoke to a number of Yale students, a majority of whom had heard the
allegations publicized by the original posters but were unable to
independently confirm their legitimacy. One source on campus provided us
with screenshots from Yik Yak and Facebook, where students are having
heated discussions about Montague’s withdrawal.


An ESPN article published today about the Bulldogs’ N.C.A.A. chances
mentioned that Yale players were “careful with their words” regarding
Montague’s departure. Senior Brandon Sherrod told ESPN:
     Case 3:16-cv-00885-AVC Document 69-3 Filed 01/25/17 Page 12 of 20
  “Not having our captain has been really, really tough,” said Sherrod,
  who added that Montague remains in touch with his former teammates
  and on the team’s group text. “All the things we’ve worked for, looking
  back to the preseason and now toward a championship, he was a huge
  part of that. So, yeah, there’s been some, ‘Get this one for Gucci.’ But
  we’ve also rallied around one another. Sometimes teams crumble in
  these sorts of situations, but we’ve showed a lot of resilience.”



Jezebel contacted several members of Yale’s administration asking if they
could comment on the posters, and if they could provide any detail as to why
Montague withdrew from Yale. Associate Director of Sports Publicity Steve
Conn told me to direct my inquiry to the Yale Office of Public Affairs; at the
Yale Office of Public Affairs, University Press Secretary Tom Conroy declined
to comment. Deputy Press Secretary Karen Peart replied, “The answer to
your question is no.”


A representative of New Haven law firm Jacobs & Dow, LLC confirmed with
the YDN on Tuesday that Montague is being represented by the firm. Jezebel
reached the firm on Thursday morning. “We do not represent Mr.
Montague,” said William F. Dow III, a lawyer at the firm. As of publication,
Montague has not responded to multiple requests for comment.


If you are a student at Yale or have any information regarding these
allegations, please feel free to reach out to tips@jezebel.com or
ellie@jezebel.com.




Contact the author at ellie@jezebel.com.


Image via source.
                   Case 3:16-cv-00885-AVC Document 69-3 Filed 01/25/17 Page 13 of 20




Ivy Hoops Online
Home of the Roundball Poets



Search …



                                 Controversy over Yale basketball
                                 team’s support of Jack Montague
                                 erupts on campus
                                 March 3, 2016 by Mike Tony



                                 On Tuesday, the Yale Daily News reported that the Yale basketball program is facing backlash on campus for its
                                 show of support for former team captain Jack Montague, who the News reported had withdrawn from the
                                 school on Feb. 10. On Thursday, the Yale Daily News further reported that that backlash is escalating.
   Recent Comments
                                 Before their game against Harvard at Payne Whitney Gym on Senior Night last Friday, members of the team
   Daniel on Ivy weekend         took the court wearing shirts with Montague’s jersey number and nickname, “Gucci,” on the back and “Yale”
   roundup: Jan. 13-14, 2017     spelled backwards on the front, which Justin Sears characterized as a show of support for Montague after the
   Ivy Observer on Ivy weekend   game.
   roundup: Jan. 13-14, 2017
   sj on Ivy weekend roundup:    “‘Yale’ spelled backwards wasn’t to make a statement. It’s just because Yale is a brand and there was a
   Jan. 13-14, 2017              copyright,” Sears told the News postgame. “It was just convenient, at the last minute. Everyone on the team
                                 supported it and wanted to show our support for Jack.”
   Jim from Jersey on Ivy
   weekend roundup: Jan. 13-
                                 But Tuesday, the YDN reported posters featuring a picture of the team dressed in the shirts and asking Yale
   14, 2017
                                 men’s basketball to “stop supporting a rapist” appeared all over campus, including at the entrance of Payne
   Jim Morgan on Ivy weekend     Whitney Gym. The majority of the posters had been taken down by 8 a.m. that same day, most by members of
   roundup: Jan. 13-14, 2017     the team, according to the Yale Daily News. Sears said told the News Sunday that Yale athletic director Tom
                                 Beckett and coach James Jones did not have “any say” in the shirts, declining to say whether the staff knew
                                 about the shirts in advance.

                                 Then Thursday, the YDN reported a second wave of posters appearing on campus:



                                     By 7:30 a.m. on Wednesday, new posters were hung on two billboards just outside the lecture
                                     hall and placed on chairs inside the hall. A handwritten note chalked on the classroom’s
                                     blackboard read “Rape culture is standing by your teammate and silencing Yale’s victims of
                                     sexual assault.”


                                     Another poster read “This poster will probably be torn down by the men’s basketball team”
                                     and in smaller font beneath, “Stop silencing women.” Sears told the News on Monday night
                                     that members of the team had taken down most of the posters found around campus on
                                     Monday morning.


                                 …
                 Case 3:16-cv-00885-AVC Document 69-3 Filed 01/25/17 Page 14 of 20
                                   One poster on Wednesday appeared to respond to Sears’ comment that after Friday’s game
                                   that Montague is “one of our brothers” and “family to us,” reading, “‘Teammate’ ‘Family’
                                   ‘Brother’ Rapist.” The two other posters put out Wednesday read: “YDN, why so silent? Stop
                                   protecting a rapist” and “I stand with Yale women. End rape culture. Don’t support rapists.”


                               The Yale Women’s Center commented on the situation on its Facebook page Wednesday night, directly
                               addressing the men’s basketball team in one passage:



                                   It is important to remember that there are power dynamics at play in all student
                                   organizations, athletic teams included, that leave some members with less agency than
                                   others. However, though we can only speculate the intent behind the basketball team’s shirt
                                   protest, student’s words and behaviors establish campus norms. The team’s actions seem to
                                   us a dismissal of the very real threat of sexual violence. That some of the members of the team
                                   thought the potential expulsion was a matter to protest shows that toxic attitudes about
                                   sexual violence persist on our campus.


                               The News additionally reported that Montague has retained a lawyer within the week, noting that New Haven
                               law firm Jacobs & Dow, LLC confirmed Monday that Montague is a client at the firm. But attorney William Dow
                               declined to tell the News whether Montague was a client and told Jezebel Thurday morning that “We do not
                               represent Mr. Montague.”

                               Jezebel also reported Thursday morning that multiple students told the organization that the team is rumored
                               to be planning a walkout at its game at Columbia Saturday night, the final contest of the regular season.


All-Ivy First Team Sites

                               Share this:
Big Apple Buckets
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Board
Ivy Hoops Bulletin
Ivy Hoops Message Board        Related
KenPom's Ivy Stat Page         Public criticism of Yale basketball   Yale basketball apologizes "for the   Jack Montague to sue Yale, lawyer
Princeton Basketball           team continues on campus              hurt we have caused" in show of       says
                               March 9, 2016                         support                               March 14, 2016
Rush the Court
                               In "Yale"                             March 10, 2016                        In "Yale"
The 14-Game Tournament                                               In "Yale"
The DP Buzz
          Case 3:16-cv-00885-AVC Document 69-3 Filed 01/25/17 Page 15 of 20




 NCAAB

 Does Yale Basketball Have a Sexual Assault
 Scandal on its Hands?
 By Jason McIntyre March 3, 2016 9:38 am ET Follow @jasonrmcintyre

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 email

 By: Jason McIntyre | March 3, 2016 9:38 am ET Follow @jasonrmcintyre

 Last month, Yale basketball captain Jack Montague abruptly left the team. His departure was
 shrouded in mystery, but a tipster told us to check with police about a possible sexual assault. We
 were able to turn up nothing earlier this week.

 Montague last played for the Bulldogs on Feb. 6 against Cornell, scoring 16 points. He withdrew from
 the university on Feb. 10 and the athletic department announced he would not be returning to the team
 this season in a press release two weeks later. Administrators have declined to comment on
 Montague’s absence or the specifics surrounding it since the announcement.

 The Yale basketball team – enjoying one of its best seasons in over a decade, and could make the
 NCAA tournament for the first time since 1962 – has cryptically been backing their former teammate,
 wearing t-shirts in honor of him at last Friday’s game with his nickname – Gucci – on the back, even
 though nobody knew why he was gone.

 Today, a bombshell in the Yale Daily News:

 Two days after signs calling on the Yale men’s basketball team to “stop supporting a rapist” first
 appeared on campus, a new set of posters expressing a similar message appeared Wednesday morning
 in the Sheffield-Sterling-Strathcona lecture hall.



http://webcache.googleusercontent.com/search?q=cache:WHeXJpHhqfIJ:thebiglead.com/2... 1/25/2017
          Case 3:16-cv-00885-AVC Document 69-3 Filed 01/25/17 Page 16 of 20


 All of this week’s posters referred to the recent controversy surrounding the basketball team’s show
 of support for former captain Jack Montague ’16, who was withdrawn from the University on Feb. 10
 for reasons the team and University have not specified.

 By 7:30 a.m. on Wednesday, new posters were hung on two billboards just outside the lecture hall and
 placed on chairs inside the hall. A handwritten note chalked on the classroom’s blackboard read
 “Rape culture is standing by your teammate and silencing Yale’s victims of sexual assault.”

 The Yale Daily News reports Montague has retained a lawyer within the last week.

 At some point, Yale is going to have to come forward and address this situation.


 Jack Montague, NCAAB

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 Jason McIntyre

 Jason McIntyre

 Follow @jasonrmcintyre

 Spent a few years as a sportswriter in newspapers, then a few years as a magazine reporter, and
 freelanced for many outlets before starting The Big Lead in 2006. It was sold in 2010 and acquired by
 USA Today in 2012. Jason can also be heard on Fox Sports Radio, Saturday mornings from 6-9 am
 EST.

 More …

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 Minnesota AD Should Cancel Bowl Appearance, Find a New Coach, and Let Players Make a
 Decision for Next Year




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                Case 3:16-cv-00885-AVC Document 69-3 Filed 01/25/17 Page 17 of 20




Signs on Yale campus call for basketball team
to ‘stop supporting a rapist’




                                                      Click to use Flash




                                                                                                              Autoplay: On | Off

BY

AMARA GRAUTSKI

NEW YORK DAILY NEWS
Thursday, March 3, 2016,
12:04 PM




A series of posters that calls for the Yale basketball team to "stop supporting a rapist" are being plastered around campus, just
weeks after captain Jack Montague abruptly withdrew from the university.
                  Case 3:16-cv-00885-AVC Document 69-3 Filed 01/25/17 Page 18 of 20
Before Friday's win over Harvard, Yale wore matching warmups with the former guard's No. 4 and "Gucci" nickname on the
back, and by Monday the first round of posters had been hung up, according to the Yale Daily News. The posters reportedly
featured a picture of the team in its Montague T-shirts.
Members of the men's basketball team made an effort to tear down those signs, the report said, but new posters appeared
outside and inside the Sheffield-Sterling-Strathcona lecture hall Wednesday morning.
The message "Rape culture is standing by your teammate and silencing Yale's victims of sexual assault" was also written on
the blackboard.
By 8:30 a.m., the posters and the blackboard note were gone, the report said.
MINNESOTA TRIO SUSPENDED OVER SEXUALLY EXPLICIT VIDEOS




Posters are being put up around Yale University that say the men’s basketball team is supporting someone who
committed a sexual assault. (SHANNON STAPLETON/REUTERS)


Montague, who was averaging 9.7 points per game, withdrew from Yale on Feb. 10 after playing his last game for the Bulldogs
just four days before. No explanation was given by the university or team for his sudden exit during a successful basketball
season — one that has Yale (20-6, 11-1) sitting atop the Ivy League.
No sexual assault charges have been brought against Montague, and it's unclear if someone on campus had levied allegations
against him.
                 Case 3:16-cv-00885-AVC Document 69-3 Filed 01/25/17 Page 19 of 20




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                     Posters on Yale campus allege men's basketball team is
                     "supporting a rapist" bit.ly/24DBxlm
                     10:16 AM - 3 Mar 2016

                                  26         23


Forward Justin Sears had told the Yale Daily News after Friday's game that the matching warmups were to "make it as clear as
possible that Jack" was one of their "brothers."
"He's family to us and we miss him," he added.
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One poster Wednesday seemed to allude to these comments, with the message: "'Teammate' 'Family' 'Brother' 'Rapist'"
The Yale Women’s Center said in a Facebook post that it has “high expectations” for administration to “promote a culture of
respect.”
“It appears that Yale has expelled a high-profile member of a sports team in the midst of a pivotal moment in the season on
the basis of sexual violence,” the post read. “ While we can only speculate about these occurrences, we can comfortably say
that, should all of this be true, this is progress.”
Yale has yet to address the signs, and its Vice President of Communications told The Daily News in a phone call that the
university has no comment.



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                Case 3:16-cv-00885-AVC Document 69-3 Filed 01/25/17 Page 20 of 20




Former Yale basketball player Jack Montague
left the university last month. (LANCE KING/GETTY
IMAGES)
